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                                                                              FILED IN THE
                                                                          U.S. DISTRICT COURT
                                                                    EASTERN DISTRICT OF WASHINGTON



                                                                     Oct 27, 2015
                                                                         SEAN F. MCAVOY, CLERK
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